 

 

 

United States District Court

DlS'l'RlCT OF CALIFORNIA

 

 

EASTERN
\n the Matter Ot the Search of
(Name, address or brief description of person or property to be searched) AP PL|CA-r| ON AN D AFF| DAV|T
Information associated with the FOR SEARC H WARRANT
"L.]CROW006@GMAIL.COM” email account and stored _ x
at premises controlled by Google. CASE NUMBER: 2: 'i 4 - SW 6 8 1 cKD
| Special Agent Ryan Smith being duly sworn depose and say:

 

l am a(n) Special Assistant United States Marshal and have reason to believe

Of'ficia| Tit|e

that \:l on the person of or on the premises known as (name, description and/or location) 4
See Attachment A ) F l l E D

DEC 1 U Z[lll

DlS RlCT CCURT
°"'ERK U'ssr'nwr FcAl.rFonNrA

District of California EASTERN Dl
BY

 
 

in the Eastern

there is now concealed a certain person or property, namely (describe the person or property)

See Attachment B

which is (give alleged grounds for search and seizure under Ru|e 41(c) of the Federal Ru|es of Crimina| Procedure):
“Evidence of a crime, contraband, fruits of crime, or other items illegally possessed."

in violation of Tit|e 18 United States Code, Section(s) 2251 and 2252.

The facts to support the issuance of a Search Warrant are as follows:

See Attached Affidavit

Continued on the attached sheet and made a part hereof. Yes § N°
_§ignahfre of A rant

Sworn to before me, and subscribed in my presence
Sacramento, California

December 10, 2014
Date atfdl$tate di ga :; i/ 2

Hon. Carolyn K. Delaney, U. S. Magistrate .]udge
Name and Tit|e of Judicial Ol'licer Signature of Judicial Officer

 

 

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AFFIDAVIT IN SUPPORT OF SEARCH WARRANT
I, RYAN sMrrH, being duly swem, depose and state:

1. I am a Detective with the Sacramento County Sheriff’ s Depaitment (SSD),
presently assigned to the Sacramento lnternet Crimes Against Children (ICAC)
Task Force. I have been assigned to the Sacramento ICAC Task Force since
January 2014. I have been employed by the SSD since January 1999. In January
2014, I was cross designated as a Special Deputy United States Marshal. As part of
my daily duties as a Detective, I investigate criminal violations relating to child
exploitation and child pornography including violations pertaining to the illegal
production, distribution, receipt and possession of child pornography, in violation of
18 U.S.C. §§ 2251 and 2252. l have received training in the area of child
pornography and child exploitation and as part of my duties have observed and
reviewed numerous examples of child pornography and visual depictions of minors
engaged in sexually explicit conduct (as defined in 18 U.S.C. § 2256) in all forms
of media, including computer media. I have attended numerous courses in the
investigation of child sexual exploitation, child pornography, and online child
sexual exploitation, In the course of my duties I have been the investigating officer
and Affiant of over 20 applications for search warrants relating to child

pornography investigations

2. I also have provided instruction to both law enforcement and civilians in the area of
Internet security, online child exploitation, as well as social networking sites. I have
received extensive training in the areas of computers and computer forensics. I have
certifications from the Robert Presley Institute of Criminal Investigation in the

investigation of Computer Crimes.

3. This affidavit is made in support of an application for a Search Walrant pursuant to

Title 18, U.S.C. § 2703(a) and 2703(b)(l)(A) and 2703(€)(1)(A) to require GMA]L

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(hereinafter “PROV]DER”), electronic communications service providers, to
provide the contents of electronic communications that were placed or stored in the
PROVIDER’S computer systems in directories of files owned or controlled by the
account listed below, one of its customers or subscribers, at any time after April 1,
2014, up through and including the date of this search warrant. Based on the
investigation in this case, evidence concerning violations of 18 U.S.C. 2422(b),
which makes it a crime to use the mail or any facility of interstate or foreign
commerce to knowingly persuades, induces, entices, or coerces any individual who
has not attained the age of 18 years, to engage in prostitution or any sexual activity
for which any person can be charged with a criminal offense, or attempts to do so,
or attempt to do so, may be contained in the opened and unopened e-mails in the
files owned or controlled by the e-mail account L,]CROW006@GMAIL.COM
(hereinafter “SUBJECT ACCOUNT”), which is further described in the following
paragraphs and in Attachment A.

This Court has jurisdiction to issue the requested warrant pursuant to 18 U.S.C.

2703 (a) because it is a court with jurisdiction over the offense under investigation

Pursuant to 18 U.S.C. 2703(g), the presence of a law enforcement officer is not '

required for the service or execution of this warrant.

The purpose of this application is to seize evidence of violations of 18 U.S.C.
2422(b), which makes it a crime to use the mail or any facility of interstate or
foreign commerce to knowingly persuades, induces, entices, or coerces any
individual who has not attained the age of 18 years, to engage in prostitution or any
sexual activity for which any person can be charged with a criminal offense, or

attempts to do so, or attempt to do so.

l am familiar with the information contained in this Affidavit based upon the

investigation I have conducted and based upon my conversations with other law

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enforcement officers who have engaged in numerous investigations involving child

pornography,

8. Because this Affidavit is being submitted for the limited purpose of securing a
search warrant, I have not included each and every fact known to me concerning
this investigation I have set forth only those facts that I believe are necessary to
establish probable cause to believe that evidence of violations of 18 U.S.C. §§ 2422
(b) are located in the SUBJECT ACCOUNT. Where statements of others are set
forth in this Affidavit, they are set forth in substance and in part.

9. The investigation has revealed that the SUBJECT ACCOUNT is believed to have

uploaded suspected child pornography to their account.

THE INTERNET and DEFINITIONS OF TECHNICAL TERMS PERTAINING
TO COMPUTERS

10. As part of my training, I have become familiar with the Internet (also commonly
known as the World Wide Web), which is a global network of computers1 and other
electronic devices that communicate with each other using various means, including
standard telephone lines, high-speed telecommunications links (e.g., copper and
fiber optic cable), and wireless transmissions including satellite. Due to the
structure of the lnternet, connections between computers on the Internet routinely v
cross state and international borders, even when the computers communicating with
each other are in the same state. Individuals and entities use the Internet to gain
access to a wide variety of information; to send information to, and receive
information from, other individuals; to conduct commercial transactions; and to
communicate via electronic mail (“e-mail”). An individual who wants to use

Internet e-mail must first obtain an account with a computer that is linked to the

 

1 Computer: The term “computer” is defined by 18 U.S.C. § 1030 (e) (1) to mean “an electronic, magnetic,
optical, electrochemical, Or Other high speed data processing device performing logical, arithmetic, or storage
functions, and includes any data storage facility or communications facility directly related to or operating in
conjunction with such device, but such term does not include an automated typewriter or typesetter, a portable
hand held calculator, or Other similar device.”

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Internet (through a university, an employer, or a commercial service such as an

“lnternet Service Provider” or “ISP” (see definition of “lnternet Service Provider”

below). Once the individual has accessed the Internet, that individual can use

Internet mail services, including sending and receiving e-mail. ln' addition, the

individual can visit web sites (see definition of “web sites” below), and make

purchases on the web sites.

11. Set forth below are some definitions of technical terms, used throughout this

Affidavit pertaining to the Internet and computers more generally:

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a. Comp_uter system and related peripherals, and computer media: As used in this

Affidavit, the terms “computer system and related peripherals, and computer
media” refer to tapes, cassettes, cartridges, streaming tape, commercial software
and hardware, computer disks, disk drives, monitors, computer printers,
modems, tape drives, disk application programs, data disks, system disk
operating systems, magnetic media floppy disks, hardware and software
operating manuals, tape systems and hard drives and other computer-related
operation equipment, digital cameras, scanners, in addition to computer
photographs, Graphic lnterchange formats and/or photographs, and other visual
depictions of such Graphic lnterchange formats, including but not limited to,

JPG, GlF, T[F, AVI, and MPEG.

. Domain Name: Domain names are common, easy to remember names

associated with an Internet Protocol address (defined below). For example, a
domain name of “Www.usdo]`.gov” refers to the Internet Protocol address of
149.101.1.32. Domain names are typically strings of alphanumeric characters,
with each level delimited by a period. Each level, read backwards ~ from right
to left - further identified parts of an organization.`Examples of first level or
top-level domains are typically .com for commercial organizations, . gov for the
United States government, .org for organizations, and .edu for educational

organizations Second level names will further identify the organization; for

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example usdoj. gov further identifies the United States governmental agency to
be the Department of Justice. Additional levels may exist as needed until each
machine is uniquely identifiable For example, www.usdo]`.gov identifies the
World Wide Web server located at the United States Department of Justice,

which is part of the United States government.

Internet Service Providers lISPs) and the Storage of ISP Records: Internet

Service Providers are commercial organizations that are in business to provide
individuals and businesses access to the Internet. ISPs provide a range of
functions for their customers including access to the Internet, web hosting, e-
mail, remote storage, and co-location of computers and other communications
equipment. ISPs can offer a range of options in providing access to the Internet
including telephone based dial-up, broadband based access via digital subscriber
line (DSL) or cable television, dedicated circuits, or satellite based subscription.
ISPs typically charge a fee based upon the type of connection and volume of
data, called bandwidth that the connection supports. Many ISPs assign each
subscriber an account name - a user name or screen name, an “e-mail address,”
an e-mail mailbox, and a personal password selected by the subscriber. By using
a computer equipped with a telephone or cable modem, the subscriber can
establish communication with an ISP over a telephone line or through a cable
system, and can access the Internet by using his or her account name and
personal password. ISPs maintain records (“ISP records”) pertaining to their
subscribers (regard.less of whether those subscribers are individuals or entities).
These records may include account application information, subscriber and
billing information, account access information (often times in the form of log
files), e-mail communications, information concerning content uploaded and/or
stored on or via the ISP’s servers, and other information, which may be stored
both in computer data format and in written or printed record format. ISPs
reserve and/or maintain computer disk storage space on their computer system
for their subscribers’ use. This service by ISPs allows for both temporary and

long-term storage of electronic communications and many other types of

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electronic data and files.' Typically, e-mail that has not been opened by an ISP
customer is stored temporarily by an ISP incident to the transmission of that e-
mail to the intended recipient, usually within an area known as the home
directory. Such temporary, incidental storage is defined by statute as “electronic
storage.” w 18 U.S.C. § 2510 (15). A service provider that is available to the
public and provides storage facilities after an electronic communication has
been transmitted and opened by the recipient, or provides other long-term
storage services to the public for electronic data and files, is defined by statute

as providing a “remote computing service.” §§ 18 U.S.C. § 2711(2).

DEFINITION OF CHILD PORNOGRAPHY AND HARMFUL MATTER

12. “Child Pornography” includes the definition found at 18 U.S.C. § 2256(8), and is
any visual depiction of sexually explicit conduct where (a) the production of the
visual depiction involved the use of a minor engaged in sexually explicit conduct,
(b) the visual depiction is a digital image, computer image, or computer-generated
image that is, or is indistinguishable from, that of a minor engaged in sexually
explicit conduct, or (c) the visual depiction has been created, adapted, or modified

to appear that an identifiable minor is engaged in sexually explicit conduct.

13. As used in this affidavit, “child erotica” means materials or items that are sexually
arousing to certain individuals but that are not in and of themselves obscene or do
not necessarily depict minors in sexually explicit poses or positions. Such material
may include non-sexually explicit photographs (such as minors depicted in
undergarments in department store catalogs or advertising circulars), drawings, or

sketches, written descriptions/stories, or journals.

14. “Visual depictions” include undeveloped film and videotape, and data stored on
computer disk or by electronic means, which is capable of conversion into a visual

image. §§ 18 U.S.C. § 2256(5).

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15. “Minor” means any person under the age of eighteen years. w 18 U.S.C. §
2256(1).

16. “Sexually explicit conduct” means actual or simulated (a) sexual intercourse,
including genital-genital, oral-genital, genital-anal, or oral-anal, whether between
persons of the same or opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or
masochistic abuse; or (c) lascivious exhibition of the genitals or pubic area of any

persons. w 18 U.S.C. § 2256(2).

COMPUTERS AND CHILD PORNOGRAPHY

17. Based upon my knowledge, training, and experience in child exploitation and child
pornography investigations, and the experience and training of other law
enforcement officers with whom l have had discussions, computers and computer v
technology have revolutionized the way in which child pornography is produced,
distributed and utilized. Prior to the advent of computers and the Internet, child
pornography was produced using cameras and film, resulting in either still
photographs or movies. The photographs required darkroom facilities and a
significant amount of skill in order to develop and reproduce the images. As a
result, there were definable costs involved with the production of pornographic
images. To distribute these images on any scale also required significant resources.
The photographs themselves were somewhat bulky and required secure storage to
prevent their exposure to the public. The distribution of these wares was
accomplished through a combination of personal contacts, mailings, and telephone
calls, and compensation for these wares would follow the same paths. More
recently, through the use of computers and the Internet, distributors of child
pornography use membership-based/subscription-based web sites to conduct

business, allowing them to remain relatively anonymous.

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18.

ln addition, based upon my own knowledge, training, and experience in child
exploitation and child pornography investigations, and the experience and training
of other law enforcement officers with whom I have had discussions, the
development of computers has also revolutionized the way in which child
pornography collectors interact with, and sexually exploit, children. Computers
serve four basic functions in connection with child pornography: production,
communication, distribution, and storage, More specifically, the development of
computers has changed the methods used by child pornography collectors in these

ways:

a. Production: Producers of child pornography can now produce both still and
l moving images directly from a common video or digital camera The

camera is attached, using a device such as a cable, or digital images are
often uploaded from the camera’s memory card, directly to the computer.
Images can then be stored, manipulated, transferred, or printed directly from
the computer. Images can be edited in ways similar to how a photograph
may be altered. Images can be lightened, darkened, cropped, or otherwise
manipulated, The producers of child pornography can also use a device
known as a scanner to transfer photographs into a computer-readable format.
As a result of this technology, it is relatively inexpensive and technically
easy to produce, store, and distribute child pornography ln addition, there is
an added benefit to the pornographer in that this method of production does

not leave as large a trail for law enforcement to follow.

b. Communication: The Internet allows any computer to connect to another
computer. By connecting to a host computer, electronic contact can be made
to literally millions of computers around the world. A host computer is one
that is attached to a network and serves many users. Host computers are
sometimes operated by commercial ISPs, such as America Online (“AOL”)
and Microsoft, which allow subscribers to dial a local number and connect

to a network which is, in turn, connected to the host systems. Host

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computers including ISPs allow e-mail service between subscribers and
sometimes between their own subscribers and sometimes between their own
subscribers and those of other networks In addition, these service providers
act as a gateway for their subscribers to the Internet or the World Wide
Web.

c. Distribution: The Internet allows users While still maintaining anonymity, to
easily locate (i) other individuals With similar interests in child pornography;
and (ii) Web sites that offer images of child pornography, Child pornography
collectors can use standard Internet connections such as those provided by
businesses universities and government agencies to communicate with
each other and to distribute child pornography, These communication links
allow contacts around the World as easily as calling next door. Additionally,
these communications can be quick, relatively secure, and as anonymous as
desired. All of these advantages which promote anonymity for both the
distributor and recipient, are well known and are the foundation of
transactions between child pornography collectors over the Internet.
Sometimes the only Way to identify both parties and verify the
transportation of child pornography over the Internet is to examine the
recipient’s computer, including the Internet history and cache2 to look for

“footprints” of the web sites and images accessed by the recipient.

d. §Mge: The computer’s capability to store images in digital form makes it
an ideal repository for child pornography, A single floppy disk can store
dozens of images and hundreds of pages of text. The size of the electronic
storage media (commonly referred to as a hard drive) used in home
computers has grown tremendously Within the last several years. Hard
drives with the capacity of 80 gigabytes are not uncommon These drives
can store thousands of images at very high resolution Magnetic storage

located in host computers adds another dimension to the equation lt is

 

2 “Cache” refers to text, image and graphic files sent to and temporarily stored by a user’s computer from a web
site accessed by the user in order to allow the user speedier access to and interaction with that web site.

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possible to use a video camera to capture an image, process that image in a
computer with a video capture board, and save that image to storage in
another country. Once this is done, there is no readily apparent evidence at
the “scene of the crime.” Only with careful laboratory examination of

electronic storage devices is it possible to recreate the evidence trail.

GOOGLE

l9. Based on my training and experience, I have learned that GOOGLE is an e-mail
service which is available free of charge to Internet users GOOGLE e-mail
addresses typically end with “@gmail.com.” Subscribers obtain an account by
registering on the Internet with GOOGLE. GOOGLE requests subscribers to
provide basic information such as name, gender, zip code and other
personal/biographical information; GOOGLE does not verify the information
provided.

20. GOOGLE maintains electronic records pertaining to the individuals and companies
for which they maintain subscriber ACCOUNT. These records include account
access information e-mail transaction information and account application
information Subscribers to GOOGLE may access their ACCOUNT on servers
maintained and/or owned by GOOGLE from any computer connected to the
Internet located-anywhere in the world. Any e-mail that is sent to a GOOGLE
subscriber is stored in the subscriber’s "mail box" on GOOGLE’s servers until the
subscriber deletes the e-mail or the subscriber’s mailbox exceeds the storage limits
preset by GOOGLE. If the message is not deleted by the subscriber, the account is
below the maximum limit, and the subscriber accesses the account periodically, that

message can remain on GOOGLE’s servers indefinitely

21. When the subscriber sends an e-mail, it is initiated at the user‘s computer,
transferred via the Internet to GOOGLE’s servers and then transmitted to its end
destination GOOGLE users have the option of saving a copy of the e-mail sent.

Unless the sender of the e-mail specifically deletes the e-mail from the GOOGLE

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server, the e-mail can remain on the system indefinitely The sender can delete the
stored e-mail message thereby eliminating it from the e-mail box maintained at
GOOGLE, but that message will remain in the recipient’s e-mail box unless the
recipient deletes it as well or unless the recipient’s account is subject to account size

limitations

22. A GOOGLE subscriber can store files including e-mails and image files on servers
maintained and/or owned by GOOGLE, E-mails and image files stored on a
GOOGLE server by a subscriber may not necessarily be located in the subscriber's
home computer. The subscriber may store e-mails and/or other files on the
GOOGLE server for which there is insufficient storage space in the subscriber’s
computer and/or which he/she does not wish to maintain in the computer in his/her
residence. A search of the files in the computer in the subscriber's residence will
not necessarily uncover the files that the subscriber has stored on the GOOGLE

SCI`V€I`.

PROBABLE CAUSE TO SEARCH THE SUB,!ECT ACCOUNT

1. On October 28th, 2014, Tuesday:‘ Ireceived a Cybertip from the National Center for
Missing & Exploited Children (NCMEC) in regards to a subject that uploaded an image
of Child Pornography to an email in GMA]L. GOOGLE scans any attachments that have
been uploaded to their emails for viruses and images of suspected child pornography
GOOGLE reported the incident to NCMEC on 09/15/14 12: 14 UTC. GOOGLE reported
to NCMEC that the email in question may or may not have been sent. The upload of the
Child Pornography image was on September 15th, 2014 at 12: 13: 15 UTC from ]P address
71.193.54.224. The user name for the account was LJCROW006@GMAIL.COM and the
secondary email listed was LJC006@DBZMAIL.COM.

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2. The NCMEC Cybertip line is an on-line reporting mechanism for cases of child sexual
exploitation including child pornography, on-line enticement of child for sex acts
molestation of children outside the family, sex tourism of children child victims of
prostitution and unsolicited, obscene materials sent a child. NCMEC staff then reviews
reports sometimes doing basic analyst work, and then distributes the Cybertip to the

appropriate investigatory agency for review.

3. I reviewed the image that had been uploaded and attached to the SUBJECT ACCOUNT.

a. b2tYw.png
This was a color image of a female child that was approximately 3-5 years old lying

on her back. There was an erect adult male penis in the anus of the child.

4. October 29“', 2014: Ichecked a public database and determined that the lP address
71.193.54.224 that was used to upload the image of child pornography was assigned to

Comcast Cable Cornrnunications.

5 . October 29‘h, 2014: I sent Comcast Cable Communications an administrative subpoena
to determine who the subscriber was for lP address 71.193.54.224 at 12: 13: 15 UTC on
september 15“12014.

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6.

7.

10.

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October 29th, 2014: Ireceived the subpoena results and it stated the subscriber

information was:
Susan Zavala

3808 Presidio St.
Sacramento, Ca 95838

916-274-4652

A KPF address check for the residence at 3,808 Presidio St, Sacramento Ca 95838
revealed that a subject named Kenneth Miller (DBO 11/26/1990) was on formal
searchable probation for PC 288(a) until 05/17/2017 and was a registered sex offender.
Kenneth Miller listed the address of 3808 Presidio St, Sacramento Ca 95838 to probation

as his current address

Kenneth Miller was contacted at his residence of 3808 Presidio St, Sacrarnento Ca 95838

on 10/21/2014 by Deputy Probation Officer Jungkeit during a compliance check.

A search of social media With the email LJC006@DBZMA[L.COM showed a Facebook
profile page https://www.facebook.com/people/Leon-Crow/100004378576561 of a
subject that had his name listed as Leon Crow. The profile picture that the subject had

listed was similar to the KPF photograph of Kenneth Miller.

11/03/14, Monday: 1 contacted Deputy Probation Officer Jungkeit and advised him of my

investigation

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11.

12.

13.

14.

15.

16.

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11/12/2014, Wednesday: Detectives from the Sacramento Valley Hi-Tech Task Force
along with Sacramento County Probation Officers conducted a probation search of
Kenneth Miller’s address at 3808 Presidio St, Sacramento Ca 95838. Several computers

were seized as evidence from the probation search.

I spoke with Kenneth Miller under Miranda advisement Kenneth stated that he
downloads and uploads images of kids involved in sex acts Kenneth admitted that he is
the owner of the SUBJECT ACCOUNT and L]C006@DBZMA]L.COM. Kenneth Miller
admitted to uploading an image of a child involved in a sex act to SUBJECT ACCOUNT
but did not send the email. Kenneth Miller stated that his GMA]]_. account was shut down
after he uploaded the image. Kenneth Miller admitted that some images of kids involved
in sex might still be on a folder on the desktop that he has a user profile of CROW on but

he deleted the rest of them.

The user account of CROW that Kenneth Miller uses will be searched due to his
probation status Scott Selzam who is the owner of the computer that Kenneth Miller uses

gave consent to search the rest of the computer.

Deputy Probation Officer Jungkeit arrested Kenneth Miller on a probation violation and

he was booked into the Sacramento County Main Jail.

The computers taken during the probation search are currently being forensically

analyzed.

Based upon your Affiant’s previous investigative experience related to child pornography
investigations including investigations of subjects Who have distributed child
pornography via the Internet that I have been the investigating officer of, your Affiant is
aware that individuals who share and distribute child pornography are often child

pornography collectors who have escalated their activity from anonymously obtaining

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free images of child pornography widely available in various locations on the Internet to

proactively distributing images they have collected, often for the purposes of trading

images of child pornography with others as a method of adding to their own collections

Individuals involved in the distribution of child pornography are also known to continue

to obtain free images of child pornography found elsewhere on the Internet, e.g. in

Newsgroups and on “free” web sites

17. Based upon my own knowledge, experience, and training in child exploitation and

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child pornography investigations, and the training and experience of other law

enforcement officers with whom I have had discussions there are certain

characteristics common to individuals involved in the receipt and collection of

child pornography

21.

Child pornography collectors may receive sexual gratification stimulation
and satisfaction from contact with children; or from fantasies they may have
viewing children engaged in sexual activity or in sexually suggestive poses
such as in person in photographs or other visual media; or from literature

describing such activity

Collectors of child pornography may collect sexually explicit or suggestive
materials in a variety of media, including photographs magazines motion
pictures videotapes books slides and/or drawings or other visual media.
Child pornography collectors oftentimes use these materials for their own
sexual arousal and gratification Further, they may use these materials to
lower the inhibitions of children they are attempting to seduce, to arouse the

selected child partner, or to demonstrate the desired sexual acts

Collectors of child pornography almost always possess and maintain their
“hard copies” of child pornography material, that is, their pictures films
video tapes magazines negatives photographs correspondence, mailing

lists books tape recordings etc., in the privacy and security of their home

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or some other secure location Child pornography collectors typically retain
pictures films photographs negatives magazines correspondence, books

tape recordings mailing lists child erotica3, and videotapes for many years

d. Likewise, collectors of child pornography often maintain their collections
that are in a digital or electronic format in a safe, secure and private
environment, such as a computer and surrounding area. These collections
are often maintained for several years and are kept close by, usually at the
collector’s residence, to enable the collector to view the collection Which is

valued highly

e. Child pornography collectors also may correspond with and/or meet others to
share information and materials rarely destroy correspondence form other child
pornography distributors/collectors conceal such correspondence as they do
their sexually explicit material; and often maintain lists of names addresses and
telephone numbers of individuals with Whom they have been in contact and Who

share the same interests in child pornography

f. Collectors of child pornography prefer not to be Without their child pornography
for any prolonged time period. This behavior has been documented by law
enforcement officers involved in the investigation of child pornography

throughout the World.

18. The undersigned Affiant submits that there is probable cause to believe that the
individual found to be utilizing the SUBJECT ACCOUNT is a collector of child
pornography This opinion is based upon the fact that the suspect computer has
been identified pursuant to this investigation as an instrumentality in the

distribution of child pornography and your Affiant’s knowledge and investigative

 

3 “Child Erotica” as used in this Affidavit, is defined as materials or items that are sexually arousing to certain
individuals but which are not in and of themselves obscene or do not necessarily depict minors in sexually explicit
poses or positions Such material may include non-sexually explicit photographs (such as minors depicted in
undergarments in department store catalogs or advertising circulars), drawings, or sketches written
descriptions/stories or journals

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experience related to the habits and tendencies of child pornography distributors
Your Affiant also bases this opinion on his investigative experience gained during
the execution of previous search warrants related to individuals identified as
distributors of child pornography in unrelated investigations, namely, that
individuals identified as distributors of child pornography have been found to be in

possession of massive quantities of child pomography.

Finally, based upon the conduct of individuals involved in the collection of child
pornography set forth above, namely that they tend to maintain their collections at
a secure, private location for long periods of time, there is a probable cause to
believe that evidence of the offenses of receiving and possessing child

pornography is currently located in the SUBJECT ACCOUNT.

Based upon the abovementioned information 1 believe that the SUBJECT
ACCOUNT has been used to distribute child pornography and that evidence of
that crime is likely to be found in the SUBJECT ACCOUNT maintained by the
PROV]DER.

INF()RMATION TO BE SEIZED

Evidence and fruits of violations of 18 U.S.C. § 2422 (b) will be seized by law
enforcement from the SUBJECT ACCOUNT upon receipt of the information from
the PROV]DER as described in Section II above as follows:

a. All subscriber information including:
i. names email addresses and screen names;
ii. addresses;
iii. detailed billing records or records of session times and durations;
iv. length of service (including start date) and types of service utilized;
v. telephone or instrument number or other subscriber number or identity,

including any temporarily assigned network address; and

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vi. the means and source of payment for such service (including any credit

card or bank account number).

b. ‘ For the period of August lst, 2014, to the date this warrant is acted upon by
THE PROV]DERS, all transactional information including:
i. logs of lntemet Protocol (“IP”) address connections including dates
times and time zones
ii. address books;
iii. buddy lists; and
iv. account history, including contacts with support services and records
of actions taken online by the subscriber or the PROV]DER support

staff in connection with the service.

c. For the period of August lst, 2014, to the date this warrant is acted upon by
THE PROV]DER, the contents of electronic or wire communications held in
ACCOUNT of the persons assigned the screen names identified in
Attachment B, including:

i. all electronic or Wire communications (including e-mail text,
attachments and embedded files) in electronic storage by THE
PROV]DER, or held by PROVIDER as a remote computing service
(if any), within the meaning of the Stored Communications Act;

ii. all photos files data, or information in whatever form and by

whatever means they have been created or stored.

22. I ask that the Court order the PROV]DER to deliver the information set forth
above within 10 days of the service of this warrant and that the PROV]DER send

the information via facsimile and United States mail.

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CONCLUSION

Based upon the above information there is probable cause to believe that
violations of 18 U.S.C. 2422(b), Which makes it a crime to use the mail or any 8
facility of interstate or foreign commerce to knowingly persuades, induces, entices,
or coerces any individual Who has not attained the age of 18 years to engage in
prostitution or any sexual activity for Which any person can be charged With a
criminal offense, or attempts to do so, or attempt to do so have been violated, and
that property, evidence, fruits and instrumentalities of these offenses more fully
described in Attachment B of this Affidavit, are located in the SUBJECT
ACCOUNT. This Affiant requests authority to seize such material.

Based upon the foregoing, this Affiant respectfully requests that this Court issue a
search Warrant for the SUBJECT ACCOUNT, more particularly described in

Attachment A, authorizing the seizure of the items described in Attachment B.

The United States requests that the Court order this search Warrant and search
Warrant affidavit be kept under seal until further order of the Court, With the
exception that a copy of the search Warrant Will be given to the PROV]DER.
Without such an order, individuals may conceal, damage, or destroy evidence

sought by this search Warrant prior to its execution

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RYAN SMITH

Special Deputy United States Marshal
Sacramento ICAC Task Force

 

Approved as to form.

 

}HE`IKO co L?(

Assistant United S ates Attorney

Subsq§ibed and sworn to before me this
(7 day of December 2014

Gn/Me MW

CARoLYN I'<. DELANEY
United States Magistrate Judge
Eastern District of California
Sacramento, California

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ML¢A
The location to be searched is more fully described as follows:
Information associated with Google e-mail accounts listed below that are stored at premises
owned, maintained, controlled, or operated by Google, a company headquartered at 1600

Ampitheater Parkway, Mountain View, California 94043.The account to be searched is
_LJCROW006@GMA1L.COM

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Attachment B

Items to Be Seized

For the LJCROWOOo@GMAIL.COM and any other screen names associated With those

accounts and for all other accounts and screen names associated, the following records

maintained by GOOGLE lnc. for each account:

1. All subscriber information including:

a
b.

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P-

names email addresses and screen names;

addresses

detailed billing records or records of session times and durations;

length of service (including start date) and types of service utilized;

telephone or instrument number or other subscriber number or identity including
any temporarily assigned network address; and

the means and source of payment for such service (including any credit card or

bank account number).

2. For the period of August lst, 2014, to the date this Warrant is acted upon by GOOGLE,

all transactional information including:

3..

logs of Internet Protocol (“lP”) address connections including dates times and
time zones and any ANI information made available to GOOGLE;

address books;

c. buddy lists; and

account history, including contacts with GOOGLE support services and records of
actions taken online by the subscriber or by GOOGLE support staff in connection

With the service.

3. For the period of August lst, 2014, to the date this Warrant is acted upon by GOOGLE,

the contents of electronic or wire communications held in accounts of the_persons

assigned the screen names identified in paragraph 1, including:

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21.

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all electronic or wire communications (including e-mail text, attachments and
embedded files) in electronic storage by GOOGLE, or held by GOOGLE as a
remote computing service (if any), within the meaning of the Stored
Communications Act;

all photos files data, or information in whatever form and by whatever means they

have been created or stored.

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A() 93 (Rev. 12/09) Search and Selzure Warrant

UNITED STATES DISTRICT CoURT

for the
Eastern District of California

In the Matter of the Search of

(Briejly describe the property to be searched
or identify the person by name and address)

CaseNo. 2: -l 4 _ SW 6 8 j CKD

information associated with the
"LJCROWOOS@GNLA|L.COM” email account
and stored at premises controlled by Google.

SEARCH AND SEIZURE WARRANT

\./\./\./\./\./\./

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the EASTERN District of §AL|FORN|A
(identify the person or describe the property to be searched and give its location)j

See Attachment A

The person or property to be searched, described above, is believed to conceal (idenn'ji) the person or describe the
property to be seized)f

See Attachment B

I find that the affidavit(S), or any recorded testimony, establish probable cause to search and seize the person or
_ property

 

YOU ARE COMMANDED to execute this warrant on or before December 241 2014
(not to exceed 14 days)
ii in the daytime 6:00 a.m. to 10 p.m. ij at any time in the day or night as I find reasonable cause has been
established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises the property was taken or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
Carogl/n K. Delaney, or the duty magistrate

 

(name)

ij l find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
Search€d OI` S€lZ€d (check the appropriate box) lijf dayS (not to exceed 30).

_ Cluntil, the facts justifying, the later spe ific date of .
._ /'“», / /
//"/-J M\ / 1’ fbi j z( 1
Date andtimeissued: 12/10/2014aeeam (/ Q?/i§’ " / j
r

Judge ’s signature
_ /
Clty and State! Sacramento. California Hon-. Carolyn K. DelarM. United States Magistrate Judge

Printed name and title

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AO 93 (Rev. 12/09) Search and Seizurc Warrant (Page 2)

 

Retu rn

 

Case No.: Date and time warrant executed: 'Copy of warrant and inventory left with:

 

 

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant
to the designated judge. ‘

Date:

 

Executing officer 's signature

 

Printea' name and title

Subscribed, sworn to, and returned before me this date.

 

 

Signature of.ludge Date

 

 

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Attachment A

The location to be searched is more fully described as follows:

Information associated with Google e-mail accounts listed below that are stored at premises
owned, maintained, controlled, or operated by Google, a company headquartered at 1600
Ampitheater Parkway, Mountain View, California 94043.The account to be searched is
LJCROWOOG@GMAlL.COl\/[

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Attachment B

Items to Be Seized

For the LJCROW006@GMAIL.COM and any other screen names associated with those

accounts and for all other accounts and screen names associated, the following records

maintained by GOOGLE lnc. for each account:

l. All subscriber information including:

a
b.

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names, email addresses and screen names;

addresses;

detailed billing records or records of session times and durations;

length of service (including start date) and types of service utilized;

telephone or instrument number or other subscriber number or identity including
any temporarily assigned network address; and

the means and source of payment for such service (including any credit card or

bank account number).

2. For the period of August lst, 2014, to the date this warrant is acted upon by GOOGLE,

all transactional information including:

a.

logs of Internet Protocol (“IP”) address connections including dates times and
time zones and any ANI information made available to GOOGLE;

address books;

buddy lists; and

account history, including contacts with GOOGLE support services and records of
actions taken online by the subscriber or by GOOGLE support staff in connection

with the service.

3. For the period of August ls‘, 2014, to the date this warrant is acted upon by GOOGLE,

the contents of electronic or wire communications held in accounts of the persons

assigned the screen names identified in paragraph l, including:

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a. all electronic or wire communications (including e-mail text, attachments and

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embedded files) in electronic storage by GOOGLE, or held by GOOGLE as a
remote computing service (if any), within the meaning of the Stored
Communications Act;

all photos files data, or information in whatever form and by Whatever means they

have been created or stored,

23

